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   13   GOLDWATER BANK, N.A.
   14                        UNITED STATES DISTRICT COURT
   15                      CENTRAL DISTRICT OF CALIFORNIA
   16    GOLDWATER BANK, N.A.,                    Case No. 5:21-cv-00616-JWH-SPx
   17                      Plaintiff,             Judge:      Hon. John W. Holcomb
                                                  Department: Courtroom 2
   18          v.
                                                  PROOF OF SERVICE
   19    ARTUR ELIZAROV, ET AL.
   20                      Defendants.
                                                  Filed:        April 6, 2021
   21                                             Trial Date:   February 27, 2023
         SCOTT HOWLETT,
   22
                           Cross-complainant,
   23
               v.
   24
         ARTHUR ELIZAROV, ET AL,
   25
                           Cross-defendants.
   26

   27

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                                         PROOF OF SERVICE
            Case 5:21-cv-00616-JWH-SP Document 204 Filed 10/07/22 Page 2 of 3 Page ID #:3970




                1        I, Esther Graaff, declare that:

                2           I am employed in the County of San Diego, State of California. I am over the age of 18

                3   years and not a party to the within action. My business address is 409 Camino del Rio S. #104, San

                4   Diego, California 92108.

                5           On October 4, 2022, I served the following document(s):

                6                1. Withdrawal of Notice of Motion and Plaintiffs Motion to Compel Subpoena

                7                    Duces Tecum Responses From Non-Parties Rite Care Hospice, Inc. Ecivis, Inc.,

                8                    and Paedae, Inc.

                9
                    on the parties in this action listed in the attached Service List, which is incorporated herein by this
               10
                    reference, by the following means:
               11
                    XX      (BY CERTIFIED MAIL, RETURN RECEIPT REQUESTED) I enclosed the documents
               12           in a sealed envelope or package, marked Certified Mail, Return Receipt Requested, said
                            individual Article Number placed in the appropriate name and address block below, and I
               13           placed the envelope for collection and mailing, following our ordinary business practices. I
                            am readily familiar with this business's practice for collecting and processing
               14           correspondence for mailing. On the same day that correspondence is placed for collection
                            and mailing, it is deposited in the ordinary course of business with the United States Postal
               15           Service, in a sealed envelope with postage fully prepaid.

               16

               17
                            I declare under penalty of perjury under the laws of the State of California that the foregoing
               18
                    is true and correct.
               19
                            Executed on October 4, 2022, at San Diego, California.
               20
                                                                   [Original executed after completion of service]
               21

               22
                                                                    sther Graaff
               23
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HILBERT &
SATTERLY LLP                                                         2
                                                              PROOF OF SERVICE
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                1
                                                           SERVICE LIST
                2
                    PaeDae, Inc. d/b/a The Mobile Majority          Rite Care Hospice, Inc.
                3   c/o CSC — Lawyers Incorporating Service,        c/o Attorney, Ily Alexeyeff (Defendant Pro per)
                    registered agent                                Loia, Inc.
                4
                    2710 Gateway Oaks Dr, Ste 150 N                 727 West 7th Street PH 1-13
                5   Sacramento, CA 95833                            Los Angeles, CA 90017

                6   eCivis, Inc.
                    c/o Registered Agents, Inc., registered agent
                7   1401 21st Street, Ste R
                8   Sacramento, CA 95811

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HILBERT &
SATTERLY LLP                                                       3
                                                            PROOF OF SERVICE
